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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DONISHA WILLIAMS,                             :      Civil Action No.
3001 Comley Road                              :
Philadelphia, PA 19154                        :
              Plaintiff,                      :
                                              :
       v.                                     :      Complaint and Jury Demand
                                              :
SOUTHEASTERN PENNSYLVANIA                     :
TRANSPORTATION AUTHORITY,                     :
1234 Market Street                            :
Philadelphia, PA 19107                        :
              Defendant.                      :


                                        CIVIL ACTION

       Plaintiff, Donisha Williams (hereinafter “Plaintiff”), by and through her attorney, Koller

Law, LLC, bring this civil matter against Southeastern Pennsylvania Transportation Authority

(hereinafter “Defendant” or “SEPTA”), for violations of Title VII of the Civil Rights Act of 1964

(“Title VII”), as amended, the Pregnancy Discrimination Act (“PDA”), and the Pennsylvania

Human Relations Act (“PHRA”). In support thereof, Plaintiff avers as follows:

                                         THE PARTIES

   1. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

   2. Plaintiff is an adult individual residing at the above captioned address.
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3. Upon information and belief, SEPTA is a regional public transportation authority with a

   location and corporate headquarters located at 1234 Market Street, Philadelphia, PA 19107.

4. At all times relevant hereto, Defendant employed managers, supervisors, agents, and

   employees who Plaintiff alleges had the authority to make decisions concerning Plaintiff’s

   employment. In making said decisions, these individuals engaged in the pattern and

   practice of discriminatory treatment, which forms the basis of Plaintiff’s allegations in the

   instant Complaint.

5. At all times relevant hereto, Defendant employed managers, supervisors, agents, and

   employees who acted directly or indirectly in the interest of the employer. In so acting,

   these individuals engaged in the pattern and practice of discriminatory treatment, which

   forms the basis of Plaintiff’s allegations in the instant Complaint.

                                 JURISDICTION AND VENUE

6. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

7. The Court may properly maintain personal jurisdiction over Defendant because the

   Defendant’s contacts with this state and this judicial district are sufficient for the exercise

   of jurisdiction and comply with traditional notions of fair play and substantial justice, thus

   satisfying the standard set forth by the United States Supreme Court in International Shoe

   Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

8. The Court may exercise original subject-matter jurisdiction over the instant action pursuant

   to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States

   and seeks redress for violations of federal law.

9. The Court may also maintain supplemental jurisdiction over state law claims set forth herein

   pursuant to 28 U.S.C. § 1367(a) and Rule 18(a) of the Federal Rules of Civil Procedure



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   because they are sufficiently related to one or more claims within the Court’s original

   jurisdiction that they form part of the same case or controversy.

10. Venue is properly laid in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§

   1391(b)(1) and 1391(b)(2) because Plaintiff is domiciled in this judicial district, the

   Defendant is located in this judicial district and because all of the acts and/or omissions

   giving rise to the claims set forth herein occurred in this judicial district.

                EXHAUSTION OF ADMINISTRATIVE REMEDIES

11. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

12. Plaintiff exhausted her administrative remedies under the ADA, Title VII and the PDA.

13. Plaintiff timely filed a Charge of Discrimination (“Charge”) with the U.S. Equal

   Employment Opportunity Commission (“EEOC”) alleging gender and pregnancy

   discrimination and retaliation against Defendant.

14. The Charge was assigned a Charge Number 530-2023-01001 and was dual filed with the

   Pennsylvania Human Relations Commission (“PHRC”).

15. The EEOC issued Plaintiff a Dismissal and Notice of Rights (“Right to Sue”) relative to

   the Charge and that Notice is dated August 4, 2023. Plaintiff received the notice by

   electronic mail.

16. Prior to the filing of this action, Plaintiff notified the EEOC of her intent to proceed with a

   lawsuit in federal court.

17. Plaintiff files the instant Complaint within ninety (90) days of her receipt of her Right to

   Sue in this matter.

18. Plaintiff has exhausted her administrative remedies as to the allegations of this Complaint.




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                                   MATERIAL FACTS

19. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

20. On or around April 1, 2019, Defendant hired Plaintiff in the position of Maintenance

    Custodian for the subway division.

21. Plaintiff was well qualified for her position and performed well.

22. On October 6, 2019, Defendant transferred Plaintiff to the position of Cashier.

23. Plaintiff was well qualified for her position and performed well.

24. On or around November 27, 2021, Plaintiff gave birth and immediately thereafter

    commenced an eight (8) week maternity leave of absence as an accommodation.

25. On or around February 9, 2022, Plaintiff returned to work at Defendant.

26. Thereafter, Plaintiff performed her job duties in a satisfactory manner and Defendant did

    not counsel her regarding any aspect of her job performance or conduct.

27. On or around June 24, 2022, Yvette Hill, Director, issued Plaintiff a final disciplinary

    warning, allegedly due to excessive absences.

28. Importantly, almost all of Plaintiff’s absences were related to the birth and care of her child.

29. Furthermore, Defendant had not subjected Plaintiff to any prior disciplinary action as

    required by Defendant’s progressive disciplinary policy and had not notified her that her

    job was in jeopardy.

30. At the time of receipt of said final warning, Plaintiff was shocked that Defendant was using

    her maternity leave as a basis for disciplinary action and did not have a union representative

    present in the meeting; therefore, she did not immediately sign the disciplinary action,

    which provided a deadline of July 25, 2022 for signature.




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31. On or around June 30, 2022, Defendant abruptly terminated Plaintiff’s employment

   without any explanation.

32. Significantly, Plaintiff had not exceeded the deadline for signature of the said warning and

   her delayed signature was not a violation of any rule or policy of Defendant.

33. Moreover, employees who did not require maternity leave as an accommodation and/or

   had failed to immediately sign a disciplinary action were not subjected to similar discipline.

34. It is Plaintiff’s position that Defendant’s articulated reason for her termination was

   pretextual and that Defendant discriminated against her based on her sex/pregnancy and

   retaliated against her based on her need for a pregnancy accommodation.

                   COUNT I – PREGNANCY DISCRIMINATION
                     PREGNANCY DISCRIMINATION ACT

35. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

36. Plaintiff is a member of a protected class in that she was pregnant.

37. Plaintiff was qualified to perform the job for which she was hired.

38. Defendant terminated Plaintiff shortly after she returned from maternity leave.

39. Circumstances exist related to the above cited adverse employment actions that give rise

   to an inference of discrimination.

40. No legitimate, non-discriminatory reasons exist for the above cited adverse employment

   actions that Plaintiff suffered.

41. Defendant discriminated against Plaintiff on the basis of her pregnancy.

42. Defendant treated non-pregnant employees better than it treated Plaintiff.

43. Defendant has no legitimate non-discriminatory reason for its actions.

44. As a result of Defendant’s unlawful disability discrimination, Plaintiff has suffered

   damages as set forth herein.


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   WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of this

Complaint, infra.

                    COUNT II – PREGNANCY DISCRIMINATION
                    PENNSYLVANIA HUMAN RELATIONS ACT

45. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

46. Plaintiff is a member of a protected class in that she was pregnant.

47. Plaintiff was qualified to perform the job for which she was hired.

48. Defendant terminated Plaintiff shortly after she returned from maternity leave.

49. Circumstances exist related to the above cited adverse employment actions that give rise

   to an inference of discrimination.

50. No legitimate, non-discriminatory reasons exist for the above cited adverse employment

   actions that Plaintiff suffered.

51. Defendant discriminated against Plaintiff on the basis of her pregnancy.

52. Defendant treated non-pregnant employees better than it treated Plaintiff.

53. Defendant has no legitimate non-discriminatory reason for its actions.

54. As a result of Defendant’s unlawful disability discrimination, Plaintiff has suffered

   damages as set forth herein.

   WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of this

Complaint, infra.

                  COUNT III – GENDER DISCRIMINATION
         TITLE VII OF THE CIVILE RIGHTS ACT OF 1964, AS AMENDED

55. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

56. Plaintiff is a member of protected classes in that she is female.

57. Plaintiff was qualified to perform the job.



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58. Similarly situated persons outside of Plaintiff’s protected classes were treated more

   favorably than Plaintiff.

59. Circumstances exist related to the above cited employment actions that give rise to an

   inference of discrimination.

60. No legitimate, non-discriminatory reasons exist for the above cited adverse employment

   actions that Plaintiff suffered.

61. The reasons cited by Defendant for the adverse employment actions that Plaintiff

   suffered are pretext for discrimination.

62. Defendant terminated Plaintiff.

63. As a result of Defendant’s unlawful gender discrimination, Plaintiff has suffered damages

   as set forth herein.

   WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of this

Complaint, infra.

                     COUNT IV – GENDER DISCRIMINATION
                    PENNSYLVANIA HUMAN RELATIONS ACT

64. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

65. Plaintiff is a member of protected classes in that she is female.

66. Plaintiff was qualified to perform the job.

67. Similarly situated persons outside of Plaintiff’s protected classes were treated more

   favorably than Plaintiff.

68. Circumstances exist related to the above cited employment actions that give rise to an

   inference of discrimination.

69. No legitimate, non-discriminatory reasons exist for the above cited adverse employment

   actions that Plaintiff suffered.


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  70. The reasons cited by Defendant for the adverse employment actions that Plaintiff

     suffered are pretext for discrimination.

  71. Defendant terminated Plaintiff.

  72. As a result of Defendant’s unlawful gender discrimination, Plaintiff has suffered damages

     as set forth herein.

     WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of this

  Complaint, infra.

                    COUNT V – RETALIATION
PREGNANCY DISCRIMINATION ACT/TITLE VII OF THE CIVIL RIGHTS ACT, AS
                          AMENDED

  73. Plaintiff incorporates all the above paragraphs as if they were set forth at length herein.

  74. Plaintiff engaged in activity protected by Title VII/PDA when she requested and went out

     on maternity leave.

  75. Thereafter, Defendant took adverse employment actions against Plaintiff, including, but

     not limited to, termination.

  76. There exists a causal connection between Plaintiff’s participation of the protected activity

     and the adverse employment action.

     WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of

  this Complaint, infra.

                            COUNT VI – RETALIATION
                      PENNSYLVANIA HUMAN RELATIONS ACT

  77. Plaintiff incorporates all the above paragraphs as if they were set forth at length herein.

  78. Plaintiff engaged in activity protected by the PHRA when she requested and went out on

     maternity leave.

  79. Thereafter, Defendant took adverse employment actions against Plaintiff, including, but


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       not limited to, termination.

   80. There exists a causal connection between Plaintiff’s participation of the protected activity

       and the adverse employment action.

       WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of this

   Complaint, infra.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Donisha Williams, requests that the Court grant her the

following relief against Defendant:

       (a)    Compensatory damages;

       (b)    Punitive damages;

       (c)    Liquidated damages;

       (d)    Emotional pain and suffering;

       (e)    Reasonable attorneys’ fees;

       (f)    Recoverable costs;

       (g)    Pre and post judgment interest;

       (h)    An allowance to compensate for negative tax consequences;

       (i)    A permanent injunction enjoining Defendant, its directors, officers, employees,
              agents, successors, heirs and assigns, and all persons in active concert or
              participation with it, from engaging in, ratifying, or refusing to correct, employment
              practices which discriminate in violation of the PDA, Title VII and the PHRA.

       (j)    Order Defendant to institute and implement, and for its employees, to attend and/or
              otherwise participate in, training programs, policies, practices and programs which
              provide equal employment opportunities;

       (k)    Order Defendant to remove and expunge, or to cause to be removed and expunged,
              all negative, discriminatory, and/or defamatory memoranda and documentation
              from Plaintiff’s record of employment, including, but not limited, the pre-textual
              reasons cited for its adverse actions, disciplines, and termination; and



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       (l)     Awarding extraordinary, equitable and/or injunctive relief as permitted by law,
               equity and the federal statutory provisions sued hereunder, pursuant to Rules 64 and
               65 of the Federal Rules of Civil Procedure.


                                   JURY TRIAL DEMAND

       Demand is hereby made for a trial by jury as to all issues.

                                       CERTIFICATION

      I hereby certify that to the best of my knowledge and belief the above matter in controversy

is not the subject of any other action pending in any court or of a pending arbitration proceeding,

nor at the present time is any other action or arbitration proceeding contemplated.




                                             RESPECTFULLY SUBMITTED,

                                             KOLLER LAW, LLC


Date: November 2, 2023                  By: /s/ David M. Koller
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